Case 1:11-cv-07550-GBD-SN Document 320-12 Filed 02/22/20 Page 1of11

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

-- xX
IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :

MOTION TO PERMIT
ATTACHMENT AND
EXECUTION PURSUANT
TO 28 U.S.C. §1610(c)

03 MDL 1570 (GBD) (SN)
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This Document Relates to
Hosgtan, et al. v. Iran, et al.
1:11-cv-07550 (GBD) (SN)

EXHIBIT I

Case 1:11-cv-07550-GBD-SN Document 320-12 Filed 02/22/20 Page 2 of 11
Case 1:11-cv-07550-GBD-SN Document 305 Filed G5/%:

ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT DOC &
SOUTHERN DISTRICT OF NEW YORK DATE FILED:
Hoglan et al.
SUPPLEMENTAL CERTIFICATE OF
v, MAILING
Islamic Republic of Iran Case No.: __11-cv-07550 (GBD) (SN)

03-md- 01570 (GBD) (SN)

[ hereby certify under the penalties of perjury that on the _ 02 day of May, 2019, I served:
Michael McPherson, Paralegal Specialist, U.S. Department of State, Overseas Citizens Services,
Office of Legal Affairs, SA 17, Tenth Floor, Washington, D.C. 20522

L] the individual of the foreign state, pursuant to the provisions of FRCP 4(f2(c)(ii).

CO the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C, § 1608(a)(3).

L] the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a)(4).

the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

___2__ copy(ies) of the Letters Rogatory Request (Hog/an Docet No. 282-1), Letters

Rogatory Order (Hog/lan Docket No. 293) (in English and Farsi), certifications by the translators

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Case 1:11-cv-07550-GBD-SN Document 305 Filed 05/08/19 Page 2 of 2

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Case 1:11-cv-07550-GBD-SN Document 306 Filed 04

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Hoglan, et al.
Plaintiff(s)
SUPPLEMENTAL CERTIFICATE OF
-V- MAILING
Islamic Republic of Iran, et al., Case No.: L:b:tl-cy-07550 (GBD) (SN)
Defendant(s) 1:1:03-md-1570 (GBD) (SN)

I hereby certify under the penalties of perjury that on the 2 day of _May_, 2019 , I served:
Michael McPherson, Paralegal Specialist, U.S. Department of State, Overseas Citizens Services, Office of
Legal Affairs, SA 17, Tenth Floor, Washington, DC. 20522.

CI the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c\(ii).

CI the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
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Inter-Agency Liaison (CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a}(4).

the head of the agency or instrumentality of the foreign state, pursuant to the provisions
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_2 copyCies) of the Letters Rogatory Request (Hoglan Docket No. 282-1), Letters Rogatory Order

(Hoglan Docket No.293), translations of all the above documents and certifications by the translator by
Federal Express #7750 2523 1017 _.

Dated: New York, New York
05/02/2019

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Case 1:11-cv-07550-GBD-SN Document 320-12 Filed 02/22/20 Page 5of11

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Case 1:11-cv-07550-GBD-SN Document 320-12 Filed 02/22/20 Page 6 of 11
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Hoglan et al.
SUPPLEMENTAL CERTIFICATE OF

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Islamic Republic af fran Case No.; _ | l-cv-07550 (GBD) (SN)

03-md- 01570 (GBD) (SN)

Thereby certify under the penalties of perjury that on the _02 day of May, 2019, I served:
Michael McPherson, Paralegal Specialist, U.S. Department of State, Overseas Citizens Services,
Office of Legal Affairs, SA 17, Tenth Floor, Washington, D.C. 20522

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Cl the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
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Inter-Agency Liaison (CA/OCS/PRI), U.S, Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C,
§ 1608{a)(4).

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2___ copy(ies) of the Letters Rogatory Request (og/an Docet No. 282-1), Letters

Rogatory Order (Hoglan Docket No. 293) (in English and Farsi), certifications by the translators

by Federal Express # 7750 2520 5189

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SOUTHERN DISTRICT OF NEW YORK DATE FILED: 06/02
Hoglan, et al.
Plaintiff(s)
SUPPLEMENTAL CERTIFICATE OF
-V- MAILING
Islamic Republic of Iran, et al., Case No.: 1:b:11-cv-07550 (GBD) (SN)
Defendant(s) 1:1:03-md-1570 (GBD) (SN)

I hereby certify under the penalties of perjury that on the 2 day of _May_, 2019 .1 served:
Michael McPherson, Paralegal Specialist, U.S. Department of State, Overseas Citizens Services, Office of
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Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a}(4).

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(Hoglan Docket No.293), translations of all the above documents and certifications by the translator by
Federal Express #7750 2523 0569.

Dated: New York, New York
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Case 1:11-cv-07550-GBD-SN Document 320-12 Filed 02/22/20 Page 9 of11

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Hoglan, et al.
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Dated: New York, New York
05/02/2019

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FedEx Service Guide.

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